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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   SAMSUNG ELECTRONICS CO., LTD.           )
   AND SAMSUNG SEMICONDUCTOR,              )
   INC.,                                   )
                                           )
                  Plaintiffs,              )
                                           )              C.A. No. 21-1453 (RGA) (JLH)
         v.                                )
                                           )
   NETLIST, INC.,                          )
                                           )
                  Defendant.               )
                                           )
                                           )
   NETLIST, INC.,                          )
                                           )
                  Counterclaim-Plaintiff,  )
         v.                                )
                                           )
   GOOGLE LLC, ALPHABET INC.,              )
   SAMSUNG ELECTRONICS CO., LTD.           )
   AND SAMSUNG SEMICONDUCTOR,              )
   INC.,                                   )
                                           )
                  Counterclaim-Defendants. )

                           STIPULATION AND [PROPOSED] ORDER

                 IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the

  approval of the Court, that the deadline for Plaintiffs and Counterclaim-Defendants Samsung

  Electronics Co., Ltd. and Samsung Semiconductor, Inc. (collectively, “Samsung”) and

  Counterclaim-Defendants Google LLC and Alphabet Inc. (collectively, “Google”) to comply with

  Paragraph 7.d of the Scheduling Order with respect to U.S. Patent Nos. 9,858,218 and 10,474,595

  is extended to July 12, 2023. This stipulation does not alter the Paragraph 7.d deadline with respect

  to U.S. Patent No. 10,217,523. No party may use this extension as a basis to argue for or against
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  a stay of the case, nor may any party use this extension as a basis to request alteration of any

  deadlines in the case relating to U.S. Patent No. 10,217,523.

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  and Samsung Semiconductor, Inc.

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  Attorneys for Counterclaim-Defendants
  Google LLC and Alphabet Inc.

  May 30, 2023


                  SO ORDERED this ___ day of _________, 2023.



                                                      UNITED STATES MAGISTRATE JUDGE




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